[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION IN RE AMENDED MOTION TO CORRECT AND RECONSIDER
Paragraph No. 1 of the Amended Motion to Correct and Reconsider is granted and the word "plaintiff" in the third sentence in paragraph 11 of the memorandum of decision dated July 1, 1996 is deleted and the word "defendant" is substituted in its place.
Paragraph No. 2 of said Amended Motion is also granted and the court will hear argument and testimony with respect to the amount of arrearage. This is necessary because the briefs of the respective parties are not in agreement as to many items of fact.
The court will also reconsider the question of the reduction in amount of support for James. This is due to the question of the plaintiff's fault and misconduct in losing his position. SeeSauchione v. Sauchione, 173 Conn. 397, 403; also the equitable doctrine of "clean hands." See German v. German, 122 Conn. 155. Counsel will be requested to submit authorities.
By stipulation the matters of the children's medical insurance, Mrs. Maloney's medical insurance, and the camp costs are continued to a later date.
John M. Alexander State Trial Referee